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                                         #:7094



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 8                             UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,                      Case No. 5:23-cr-00021-JGB
12                Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                  JASON CARDIFF’S EX PARTE
13          vs.                                   APPLICATION FOR
                                                  MODIFICATION OF REPORTING
14 JASON EDWARD THOMAS                            TIME TO ALLOW SUBMISSION
   CARDIFF,                                       OF NEW EVIDENCE IN SUPPORT
15                                                OF EX PARTE APPLICATION
            Defendant.                            FOR EXTENDED TRAVEL AND
16                                                RETURN OF PASSPORT OR, IN
                                                  THE ALTERNATIVE, TO MODIFY
17                                                BOND CONDITIONS
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     Prop
                                                           [Proposed Order]
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 1               GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED
 2 That Jason Cardiff shall be permitted to extend his travel to Ireland from January 19,
 3 2025 to January 23,2025 or three days from the date of an Order denying this
 4 Motion or a ruling on Defendant’s Motion for Reconsideration based on updated
 5 medical evidence.
 6               IT IS FURTHER ORDERED that Jason Cardiff’s curfew shall be lifted
 7 only while he is traveling.
 8               IT IS FURTHER ORDERED that Jason Cardiff shall remain in contact with
 9 and provide his location to Officer McClellan every other day via video call while
10 he is outside the United States.
11               IT IS FURTHER ORDERED that Jason Cardiff’s travel itinerary shall be
12 approved by United States Probation Officer Ryan McClellan prior to his travel.
13
14               IT IS SO ORDERED.

15 Dated:                                                _______________________
16                                                       Honorable Jesus G. Bernal
                                                         United States District Judge
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     Pproposed
                    [Proposed] Order            2
